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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


ASTELLAS PHARMA INC., ASTELLAS
IRELAND CO., LTD., and ASTELLAS
PHARMA GLOBAL DEVELOPMENT,
INC.,                                                       CIVIL ACTION NO. 23-689-JFB-CJB

                    Plaintiffs,                                 MEMORANDUM AND ORDER

    v.

MSN PHARMACEUTICALS INC. and MSN
LABORATORIES PRIVATE LIMITED

                    Defendants.



         Before the Court is Plaintiffs’ Motion to Enforce a Settlement Agreement. D.I. 17.1

Astellas2 claims it agreed to settle a patent infringement action with MSN.3 The problem for

Astellas is the purported settlement agreement contains a clause providing “[t]his Agreement

shall not be binding on the Parties until it has been signed below by all the Parties.” D.I. 23

at 195. MSN did not sign. Because the language of the final draft agreement evidences a

“positive agreement that it should not be binding until so reduced to writing and formally

executed,” Astellas has not met its burden of showing there is any settlement agreement to

enforce.    Loppert v. WindsorTech, Inc., 865 A.2d 1282, 1287 (Del. Ch. 2004) (quoting

Universal Prods. Co. v. Emerson, 179 A. 387 (Del. 1935)). Therefore, Astellas’s motion is

denied.




1 The filing was made in Case No. 1:23-cv-00689 before it was consolidated with the current above captioned

lead case. Unless otherwise indicated, all citations to the record are in Case No. 1:23-cv-00689.
2 Plaintiffs, Astellas Pharma Inc., Astellas Ireland Co., LTD., and Astellas Pharma Global Development, Inc.
3 Defendants, MSN Pharmaceuticals, Inc. and MSN Laboratories Private Limited.

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                                            BACKGROUND

       This is a patent infringement action concerning a treatment for overactive bladder

manufactured by Astellas under the brand name Myrbetriq®. MSN wants to manufacture a

generic version of the drug and filed an Abbreviated New Drug Application (ANDA) with the

FDA. See 21 U.S.C. § 355(j).4 MSN’s ANDA filing allowed Astellas to sue for patent

infringement under 35 U.S.C. § 271(e)(2).5 Astellas did exactly that and filed this lawsuit on

June 23, 2023. D.I. 1.

       The parties began negotiating a possible settlement before the complaint was filed.

D.I. 18-1 (May 30, 2023, email reading: “[w]e represent MSN for this product, and I wanted to

see if we could begin settlement discussions.”). On July 5, 2023, Astellas kickstarted formal

negotiations by sending a model settlement agreement they had used in negotiations with

other generics manufacturers. D.I. 23 at 28. Generally, the proposed settlement provided for

the dismissal of the current action and allowed MSN to sell their generic formulation under a

license agreement. Relevant to the current dispute, Astellas’s first proposed settlement

agreement contained the following term (the Signature Provision):




D.I. 23 at 195. Over the next four months, the parties negotiated the terms of the settlement

through email and redlined copies of Astellas’s initial proposed settlement agreement. See


4 21 U.S.C. § 355(j) allows the FDA to approve a generic version of a drug based on the safety and efficacy

studies conducted on the brand-name drug.
5 35 U.S.C. § 271(e)(2) permits an innovative manufacturer to seek an injunction to prevent a generic drug

manufacturer from entering the market, if the generic product would infringe a patent held by the innovative
manufacturer.
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generally D.I. 18-1 (the parties’ email correspondence).                       Two key issues dominated

negotiations: (1) how the outcomes in pending litigation over the patents in suit would impact

MSN’s obligations under the license agreement, and (2) certain details of the license

agreement.6 See e.g. D.I. 23 at 177. The parties exchanged multiple redlined copies of the

settlement agreement but did not make any changes to the Signature Provision. Compare

D.I. 23 at 16 (October 5, 2023) with id. at 41 (July 5, 2023) and id. at 68 (July 19, 2023) and

id. at 87 (August 9, 2023) and id. at 135 (September 29, 2023) and id. at 195 (October 12,

2023). Nor did the parties discuss changes to the Signature Provision in the emails discussing

the draft agreements. See generally D.I. 18-1.

        In fall of 2023, it appeared the parties were nearing settlement. Specifically, on

September 14th, 2023, MSN sent Astellas a revised draft implementing certain changes to

“evaluate whether it gets us across the finish line.” D.I. 18-1 at 10. After Astellas offered edits

of its own, on October 5, 2023, counsel for MSN indicated they were “very close” to an

agreement, offered a redlined copy containing “two revisions for [Astellas’s] consideration,”

and closed the email writing “[p]lease let me know if you have any questions or comments,

otherwise we can proceed towards signing.” Id. at 23. The October 5 draft contained the

Signature Provision. D.I. 23 at 16. In response, on October 11, 2023, counsel for Astellas’s

emailed “Astellas is ok with the changes. I’ll circulate a copy for execution.” D.I. 18-1 at 23.

The execution copy, circulated on October 12, 2023, also contained the Signature Provision

and was materially identical to the October 5 draft. D.I. 23 at 195.

        MSN did not sign. Instead, counsel for MSN informed Astellas “MSN decided not to

proceed with this proposed settlement agreement” and filed an answer. D.I. 18-1 at 21.


6
 Outside the Signature Provision and Paragraph 16 (a standard integration clause), the specifics of the proposed
settlement terms and the parties’ negotiating positions have little bearing on the resolution of this motion and, in
the interest of maximizing public access to the work of the courts, the Court will avoid discussion of any
confidential details of the proposed settlement and associated negotiations.
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Astellas, believing the matter settled, moved to enforce the purported settlement agreement.

In parallel, the parties litigated the patent infringement case. See Case No. 23-486-JFB-CJB,

D.I. 134 (a letter from the parties describing the status of the ongoing litigation). Relevant to

this motion, Magistrate Judge Burke previously denied Astellas’s Motion to Amend their

complaint to add a breach of the settlement agreement because Astellas’s allegations failed

to establish a contract under Delaware law. Case No. 23-486-JFB-CJB, D.I. 111.

                                          LEGAL STANDARD

        The Court has jurisdiction to enforce a settlement agreement in a pending case. Maya

Swimwear Corp. v. Maya Swimwear, LLC, 855 F. Supp. 2d 229, 233 (D. Del. 2012). The

standard for summarily enforcing a settlement agreement is “is similar to” the standard “on a

motion for summary judgment.” Tiernan v. Devoe, 923 F.2d 1024, 1031 (3d Cir. 1991).7

Astellas is, thus, entitled to enforcement if there are no disputed material facts, and the

material facts show they are “entitled to judgment as a matter of law.” Id.; Fed. R. Civ. P. 56.

If there are disputed issues of material fact regarding the existence or validity of the settlement

agreement, the Court should not enforce the agreement on a summary basis. Id. at 1038.

        The enforcement of a settlement agreement is an issue of state contract law. Parker-

Hannifin Corp. v. Schlegel Elec. Materials, Inc., 589 F. Supp. 2d 457, 461 (D. Del. 2008).

Absent a choice of law provision in the contract, the Court applies the law of the jurisdiction

with the “most significant relationship to the dispute.” Klaxon Co. v. Stentor Elec. Mfg. Co.,

313 U.S. 487, 498 (1941); RSUI Indem. Co. v. Murdock, 248 A.3d 887, 896 (Del. 2021). Here,

the purported contract does not contain a choice of law clause, and the parties agree

Delaware law applies. D.I. 21 at 11 (citing Delaware law). So, the Court applies Delaware



7
 The law of the regional circuit controls on a motion to enforce a settlement agreement in a patent case
because the “issue is not unique to patent law.” MedPointe Healthcare, Inc. v. Kozachuk, 373 F. App'x 62, 64
(Fed. Cir. 2010).
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law as articulated by the Delaware Supreme Court. Franchetti v. Intercole Automation, Inc.,

523 F. Supp. 454, 455 (D. Del. 1981). If the Delaware Supreme Court has not addressed an

issue, the Court will predict how they would resolve the case based on “relevant state

precedents, analogous decisions, considered dicta, scholarly works, and any other reliable

data.” Berrier v. Simplicity Mfg., Inc., 563 F.3d 38, 46 (3d Cir. 2009) (internal quotations

omitted).

                                               DISCUSSION

        MSN raises several arguments8 against enforcing the settlement agreement, including

an argument that the Signature Provision created a condition precedent, precluding formation

of an enforceable settlement agreement. See D.I. 21 at 6.

    A. Legal Framework

        “A deal is not final until the ink is dry” is usually a maxim of business -- not contract

law. However, when contracting parties choose to make the contract binding upon the

execution of a signed written agreement, Delaware law respects that choice.

        Specifically, a contract is formed when the parties’ objective conduct demonstrates “an

offer, acceptance, and consideration.” Trexler v. Billingsley, 166 A.3d 101 (Del. 2017) (table).

In determining whether a contract was formed “the parties' ‘overt manifestation of assent—

not subjective intent—controls.’” Loppert, 865 A.2d at 1285 (quoting Indus. Am., Inc. v. Fulton

Indus., Inc., 285 A.2d 412, 415 (Del. 1971). Usually,

        Where all the substantial terms of a contract have been agreed on, and there is
        nothing left for future settlement, the fact, alone, that it was the understanding
        that the contract should be formally drawn up and put in writing, did not leave
        the transaction incomplete and without binding force, in the absence of a
        positive agreement that it should not be binding until so reduced to writing and
        formally executed.

8 Specifically, MSN argues: (1) there was no objective manifestation of assent, (2) contract formation is
foreclosed by the Signature Requirement, (3) there was no consideration, and (4) counsel lacked actual or
apparent authority to settle. The Signature Provision issue is dispositive, so the Court does not address MSN’s
other contentions.
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Id. at 1287 (quoting Universal Prods. Co. v. Emerson, 179 A. 387 (Del. 1935)).

       But, parties can agree to a condition precedent, or “an act of a party that must be

performed or a certain event that must happen before a contractual right accrues or a

contractual duty arises.” Lockwood v. Capano, 105 A.3d 989 (Del. 2014) (table) (quoting 13

Williston on Contracts § 38:7 (4th ed.)). If the parties “agree[] that the contract is not to be

effective or binding until certain conditions are performed or occur, no binding contract will

arise until the conditions specified have occurred or been performed.” Id. So, a signed and

executed agreement is not a prerequisite for contract formation unless the parties “parties

positively agree that there will be no binding contract until the formal document is executed.”

Loppert, 865 A.2d at 1287 (quoting Anchor Motor Freight v. Ciabattoni, 716 A.2d 154, 156

(Del. 1998).

       These contract law principles apply to settlement agreements. Loppert, 865 A.2d at

1285 (“[A] settlement agreement is enforceable as a contract.”). A settlement agreement is

formed when “a reasonable negotiator . . . would have concluded, in that setting, that the

agreement reached constituted agreement on all of the terms that the parties themselves

regarded as essential.” Id. (quoting Leeds v. First Allied Connecticut Corp., 521 A.2d 1095,

1097 (Del. Ch. 1986)). Thus, a settlement agreement is enforceable without a signed writing,

unless the parties agree otherwise through the language of their agreement or conduct in

negotiations. See Brady v. Huber, No. 2019-0204-SEM, 2023 WL 3736371, at *6–*7 (Del.

Ch. May 31, 2023) (collecting cases).

   B. There is no enforceable settlement agreement because the parties’ contract
      made a formal executed document a condition precedent to contract formation.

       Here, while the parties reached agreement on the material terms of a settlement, the

Signature Provision is a “positive agreement” that a signed copy of the agreement is a

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condition precedent to settlement. Loppert, 865 A.2d at 1287. Because MSN did not sign,

Astellas has not met their burden of showing an enforceable settlement agreement.

        The conduct of the parties demonstrates they reached a meeting of the minds on the

terms contained in the October 5 draft agreement.9 A party objectively manifests acceptance

when they unconditionally respond to an offer to contract “on identical terms as the offer.”

PAMI-LEMB I Inc. v. EMB-NHC, L.L.C., 857 A.2d 998, 1015 (Del. Ch. 2004). Here, MSN’s

October 5 email and draft agreement objectively evidence an intent to be bound by the

settlement agreement. Specifically, the draft reflects final edits to the key terms that had been

the focus of the parties’ negotiations. D.I. 23 at 11–14. The October 5 email states that the

parties were “very close” to a final agreement and, if Astellas was happy with the changes,

they would “proceed towards signing.” D.I. 18-1 at 23. In response, Astellas did not make

any changes to the draft, unequivocally stated “we ok with the changes,” and took steps to

proceed towards execution. Id. at 23. Therefore, the parties conduct reflects a meeting of

the minds on settling the litigation on the terms outlined in MSN’s final draft agreement.

        Under different circumstances, this could have ended the matter. However, the draft

settlement agreement contained the Signature Provision. As a reminder, a formally executed

copy is not required unless “parties positively agree that there will be no binding contract until

the formal document is executed.” Loppert, 865 A.2d at 1285. For example, in Riblett, the

parties to a trust and estates dispute attended a mediation in which they reached agreement

on the key issues in the litigation but one of the parties refused to sign the settlement

agreement. Riblett v. Riblett, No. CV 12786-MZ, 2018 WL 1352329, at *2 (Del. Ch. Mar. 15,

2018). The court refused to enforce the purported settlement agreement because the parties’




9 Dismissing a pending case in exchange for a patent license agreement is certainly consideration capable of

supporting a contract. DiSabatino v. U.S. Fid. & Guar. Co., 635 F. Supp. 350 (D. Del. 1986).
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mediation agreement specifically provided “[i]f a settlement is reached, the agreement shall

be reduced to writing and when signed, shall be binding upon all parties to the agreement and

become part of the court record” which a reasonable negotiator would understand to mean

the settlement agreement was not effective until signed. Id. at *3. Here, like Riblett the

purported agreement contains the Signature Provision, which specifically provides the

“[a]greement shall not be binding on the Parties until it has been signed below by all the

Parties.” The term is unambiguous: signatures are required to create a binding agreement.

Astellas proposed the term, did not object to the term at any stage of negotiations, and the

term appears, unchanged, in the October 5 version of the contract. A reasonable negotiator

in MSN’s position would, thus, understand that signatures were a necessary condition to

settling the matter. The Signature Provision, therefore, operated as a condition precedent for

settlement, meaning “no binding contract will arise until the” agreement was signed.

Lockwood, 105 A.3d 989. Because MSN did not sign, no binding contract arose.

       Because the parties “positively agreed” to require signatures, the Court will not “treat

the insistence upon a writing as unimportant” and must conclude “no enforceable contract

had yet been formed despite agreement upon all of the substantive terms of a contract.”

Transamerican S.S. Corp. v. Murphy, No. CIV.A. 10511, 1989 WL 12181, at *2 (Del. Ch. Feb.

14, 1989). Therefore, Astellas cannot meet its burden of showing there is no dispute of

material fact, or that they are entitled judgement as a matter of law.

   C. Astellas’s arguments to the contrary lack merit.

       Seeking to avoid the consequences of the Signature Provision, Astellas raises four

arguments. None establish that Astellas is entitled to summary enforcement of the purported

settlement agreement.




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        1. The Court cannot ignore the Signature Provision because it was not
           specifically discussed in negotiations.

        First, Astellas argues that the parties did not reach an agreement on the Signature

Provision and the Court should only enforce the terms that the parties specifically negotiated

but this argument misses the key moment in settlement negotiations. Specifically, Astellas

claims that it presented its original offer on a “take it or leave it” basis and MSN rejected it,

thus rejecting all the provisions and allowing the parties to negotiate an agreement from the

ground up on only the key terms. Astellas is correct that responding to an offer with different

terms operates as a rejection of that offer. PAMI-LEMB I Inc., 857 A.2d at 1015. But that

initial rejection is little help to Astellas because the Signature Provision appeared in every

subsequent version of settlement agreement proposed by the parties including MSN’s

October 5 final proposed agreement and Astellas’s October 12 execution copy. D.I. 23 at 16;

id. at 195. In other words, the continued presence of the Signature Provision in the draft

agreements, including the final versions from each party, would tell a reasonable negotiator

that the Signature Provision was a term of the parties’ agreement.10 Indeed, because nobody

objected to the term, a reasonable negotiator would understand that it was an uncontroversial

aspect of the bargain.         Astellas provides no basis for enforcing only the “core” of the

agreement, while ignoring other terms agreed to by the parties.

        2. The Court cannot ignore the Signature Provision because it was not an
           essential term.

        Second, Astellas argues that because the Signature Provision was “boilerplate” and

not “an essential term” it is unenforceable, but Astellas confuses two related concepts under

Delaware law. Specifically, even when there is a meeting of the minds on some terms, no



10 Astellas did not produce any extrinsic evidence demonstrating either party disclaimed the Signature Provision

during negotiations. Even if they had, such evidence would, at best, demonstrate a disputed factual issue
regarding the terms of the agreement, precluding summary enforcement. Tiernan, 923 F.2d at 1038.
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contract is formed if there are still essential terms left open. Maya Swimwear Corp., 855 F.

Supp. 2d at 234. However, if parties agree on the essential terms, their failure to discuss or

agreed on nonessential “additional, boilerplate terms” preclude formation of an enforceable

agreement. Id. at 236 (quoting Loppert, 865 A.2d at 1289). This issue is entirely separate from

whether the parties “positively agreed” to condition their settlement on a formal executed

agreement.

       Maya Swimwear demonstrates that these two issues are separate. There, the parties

to a copyright suit reached an agreement in principle to settle but the defendant reneged

before the parties executed a formal settlement agreement. Id. at 233. The defendant raised

two defenses to enforcement: (1) the parties contemplated a written agreement, and (2) the

parties had not agreed on all essential terms. Id. at 235. The court rejected both arguments,

concluding: (1) there was no intrinsic or extrinsic evidence suggesting settlement was

conditioned on a signed agreement, and (2) the parties agreed on all essential terms and the

remaining terms were “boilerplate and conventional.” Id. at 235–37. Nowhere did the court

hold that an agreement to require signatures would be unenforceable as standard or

boilerplate because no such term existed in the parties’ agreement.

       Indeed, the Transamerican S.S. Corp. court rejected such an argument writing, “[t]hat

it does not involve a substantive term does not provide the court with a ground to brush aside

the point which appears to have been clearly preserved.” 1989 WL 12181 at *2. So, whether

the Signature Provision is an “essential term” is irrelevant to whether it is an enforceable term

of the parties’ agreement or establishes a condition precedent to contract formation.

       3. The Signature Provision does not render Paragraph 16 superfluous.

       Third, Astellas argues enforcing the Signature Provision would render other terms in

the contract superfluous but Astellas’s reading of the contract is strained and creates its own

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superfluousness problems. Specifically, Astellas points to Paragraph 16 of the agreement

which provides:

      This Agreement (including all attachments hereto) constitutes the entire
      agreement and understanding between the Parties with respect to the subject
      matter hereof and supersedes all prior agreements or understandings, oral or
      written, with respect to such matters, including agreement or understanding
      reached or communicated between the Parties, directly, through counsel, or
      otherwise, in connection with the Lawsuit.

D.I. 23 at 17. Finally, Astellas cites to cases where this Court has enforced settlement

agreements absent a signed agreement, but each is distinguishable. Astellas argues that

because the language of Paragraph 16 contemplates other agreements, the Signature

Provision would render this provision superfluous. Not so. True, contracts are read to avoid

rending provisions as superfluous. Manti Holdings, LLC v. Authentix Acquisition Co., Inc.,

261 A.3d 1199, 1208 (Del. 2021) (“Contracts will be interpreted to give each provision and

term effect and not render any terms meaningless or illusory.”). But, even with the Signature

Provision, Paragraph 16 has plenty of work to perform. Specifically, Paragraph 16 is a

straightforward integration clause that would prevent either party from introducing prior

agreements that contradicted or supplemented the terms of the final agreement and limiting

the admissibility of extrinsic evidence to interpret the final agreement. See generally 2 Voss

on Delaware Contract Law § 8.138 (describing the many uses of an integration clause). So,

the presence of the Signature Provision does not render the Paragraph 16 “meaningless or

illusory.” Manti Holdings, LLC, 261 A.3d at 1208.

      Indeed, Astellas’s interpretation creates its own problems, rendering the Signature

Provision “meaningless or illusory.”   Specifically, if the Signature Provision was silently

invalidated by Paragraph 16, its requirement that the agreement be signed to become

effective and effective date tied to the execution of the agreement would do no work. Put

another way, if Paragraph 16 allows for the agreement to become effective without signatures,
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what is the point of including a provision requiring signatures? Rather than adopt Astellas’s

“interpretation that leads to unreasonable results,” the Court “will adopt the construction that

is reasonable and that harmonizes the affected contract provisions." Axis Reinsurance Co. v.

HLTH Corp., 993 A.2d 1057, 1063 (Del. 2010). The Signature Provision requires an executed

agreement to create an enforceable agreement, thus preventing accidental contract formation

during settlement negotiation and creating a brightline moment of effectiveness.          Once

effective, Paragraph 16 prevents Astellas and MSN from relying on statements made in

negotiations to contradict the terms embodied in the fully executed agreement.              The

provisions, therefore, can function in harmony and the Court need not use Paragraph 16 to

invalidate the Signature Provision.

       4. A contractual term can evidence a “positive agreement” to condition
          formation on an executed agreement.

       Fourth, Astellas argues a “positive agreement” to require signatures must occur “during

negotiations” but cites no authority supporting that contention. D.I. 38 at 9. True, the cases

cited by Astellas involved representations made during negotiations. See Schwartz v. Chase,

No. CIV.A. 4274-VCP, 2010 WL 2601608, at *8 (Del. Ch. June 29, 2010) (finding a party could

unilaterally condition settlement on signatures based on statements in negotiations);

Transamerican S.S. Corp., 1989 WL 12181, at *2 (same). But none of the cases cited by

Astellas articulate a rule that a “positive agreement” must be shown by statements in

negotiations and cannot be shown by a contract term and the Court has located none. D.I.

38 at 9. Nor does such a rule make sense. Indeed, under Delaware law, “[i]f a writing is plain

and clear on its face, i.e., its language conveys an unmistakable meaning, the writing itself is

the sole source for gaining an understanding of intent,” meaning it would be anomalous to

adopt a rule that requires ignoring the plain language of an agreement in favor of silence in



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contract negotiations to understand the intent of the parties. City Investing Co. Liquidating

Tr. v. Cont’l Cas. Co., 624 A.2d 1191, 1198 (Del. 1993).

         Astellas asserts this court articulated such a proposition in Honeywell, a case in which

the “[c]ourt upheld an unsigned ‘final version’ of a settlement agreement despite the

agreement requiring ‘signatures of their duly authorized representatives.’” D.I. 38 at 11

(quoting Rohm & Haas Elec. Materials, LLC v. Honeywell Int'l, Inc., No. C.A. 06-297-GMS,

2009 WL 1033651, at *6 (D. Del. Apr. 16, 2009)). Honeywell does not bear the weight Astellas

puts on it. Tellingly, the clause cited by Astellas was cited in a footnote discussion of a

separate issue and played no part in the court’s analysis of whether the parties reached a

“positive agreement” to require signatures. Compare Honeywell, 2009 WL 1033651 at *6

(concluding the parties did not positively agree to require signatures) with id. at 6 (citing the

clause when discussion whether Honeywell’s attorneys had authority to settle the matter).

The full text of the clause shows why. Specifically, the cited portion of the contract read, “the

Parties hereto have caused this Agreement to be duly effective and delivered as of the date

and year first above written by the signatures of their duly authorized representatives.” Id. at

*6 n.12. This is the quintessential example of contract language contemplating, but not

requiring a signed written document. Universal Prods. Co. v. Emerson, 179 A. 387, 394 (Del.

1935).    Here, by contrast, the Signature Provision uses mandatory language to require

signatures. D.I. 23 at 16 (“This agreement shall not be binding on the Parties until it has been

signed below by all the Parties.”) (emphasis added). So, neither the analysis performed by

the court in Honeywell nor the contract language at issue in that case establish that a contract

term is insufficient evidence of a “positive agreement” to require signatures.

         In sum, none of Astellas’s counter arguments allow the Court to set aside the explicit

language of the purported agreement.

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                                        CONCLUSION

       It is unfortunate the settlement negotiations fell apart in this manner because

“Delaware law favors voluntary settlement of contested suits” and settlement provides

certainty for both the generic and the innovative manufacturer. Schwartz, 2010 WL 2601608,

at *4. Nevertheless, “[u]nder Delaware law, sophisticated parties are bound by the terms of

their agreement” and “the role of the court is to enforce the agreement as written” “[e]ven if

the bargain they strike ends up a bad deal for one or more parties.” Glaxo Grp. Ltd. v. DRIT

LP, 248 A.3d 911, 919 (Del. 2021). If there is any silver lining, perhaps the resolution of this

motion will give the parties a moment to revisit settlement negotiations considering

subsequent developments in the Myrbetriq® litigation. See e.g., Astellas Pharma, Inc. v.

Sandoz Inc., 117 F.4th 1371, 1381 (Fed. Cir. 2024) (reversing the Court’s invalidation of one

of the patents in suit); Case No. 23-486-JFB-CJB, D.I. 134 (summarizing existing disputes

between the parties).

       While Astellas may now regret adding the Signature Provision to the proposed

agreement, they are bound by that choice.

       THEREFORE, IT IS ORDERED:

       1.     Astellas’s Motion to Enforce a Settlement Agreement, D.I. 17, is denied.


       Dated this 21st day of January, 2025.


                                                    BY THE COURT:

                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge




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